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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                WICHITA FALLS DIVISION


 UNITED STATES OF AMERICA,

                        Plaintiff,                        CIVIL No. 7:25-cv-00055
 v.                                                      Proposed Order and Final Consent
                                                         Judgment
 STATE OF TEXAS,

                        Defendant.

                               ORDER AND FINAL JUDGMENT

       Before the Court is the Parties’ Joint Motion for Entry of a Consent Judgment. ECF No.

5. Having considered the Motion, the Complaint, and applicable law, the Court GRANTS the

Motion. Accordingly, the Court hereby DECLARES that the challenged provisions, Texas

Education Code §§ 54.051(m), 54.052(a), as applied to aliens who are not lawfully present in the

United States, violate the Supremacy Clause and are unconstitutional and invalid.

       The Court also hereby PERMANENTLY ENJOINS Defendant as well as its successors,

agents, and employees, from enforcing Texas Education Code § 54.051(m) and § 54.052(a), as

applied to aliens who are not lawfully present in the United States.

       This final judgment is issued pursuant to Federal Rule of Civil Procedure 58(a). The Clerk

of the Court shall transmit a true copy of this judgment to the Parties.



       SO ORDERED on this ___ day of ______ 2025.



                                              ___________________________
                                              Reed C. O’Connor
                                              United States District Judge
